           Case 2:24-cv-00406-CDS-NJK Document 3 Filed 03/01/24 Page 1 of 2




 1
 2
 3
 4
                                UNITED STATES DISTRICT COURT
 5
                                        DISTRICT OF NEVADA
 6
 7   JESSICA BROWN,
                                                               Case No. 2:24-cv-00406-CDS-NJK
 8          Plaintiff(s),
                                                                          ORDER
 9   v.
                                                                       [Docket No. 1]
10   MIKE VAN LUVAN, et al.,
11          Defendant(s).
12         Pending before the Court is Plaintiff’s application to proceed in forma pauperis. Docket
13 No. 1. The application is incomplete. “When submitting an application to proceed in forma
14 pauperis, an incarcerated or institutionalized person must simultaneously submit a certificate from
15 the institution certifying the amount of funds currently held in the applicant’s trust account at the
16 institution and the net deposits in the applicant’s account for the six months before the date of
17 submission of the application.” Local Special Rule 1-2. The applicant must also submit “a
18 certified copy of the trust fund account statement.” 28 U.S.C. § 1915(a)(2). Plaintiff did not
19 submit this certificate or the certified account statement.
20         Accordingly, Plaintiff’s application to proceed in forma pauperis, Docket No. 1, is
21 DENIED without prejudice. No later than April 15, 2024, Plaintiff must either (1) file a fully
22 complete application to proceed in forma pauperis, on the correct form with complete financial
23 attachments; or (2) pay the $405 fee for filing a civil action. FAILURE TO COMPLY WITH
24 THIS ORDER MAY RESULT IN A RECOMMENDATION THAT THE CASE BE
25 DISMISSED.
26         The Clerk’s Office is INSTRUCTED to send Plaintiff the approved form application to
27 proceed in forma pauperis by a prisoner, as well as the document entitled information and
28 instructions for filing an in forma pauperis application.

                                                     1
           Case 2:24-cv-00406-CDS-NJK Document 3 Filed 03/01/24 Page 2 of 2




 1         Lastly, it appears to the Court that Plaintiff is attempting to bring a civil rights claim against
 2 her public defender and the county public defender office pursuant to 42 U.S.C. § 1983. See, e.g.,
 3 Docket No. 1-1 at 6 (seeking monetary damages). The Court notes, however, that Plaintiff checked
 4 the box for a habeas motion on her application to proceed in forma pauperis.1 Plaintiff must clearly
 5 indicate in her future filings whether she is bringing a civil rights claim for monetary relief or a
 6 habeas petition challenging her conviction or sentence.
 7         IT IS SO ORDERED.
 8         Dated: March 1, 2024
 9                                                                  ______________________________
                                                                    Nancy J. Koppe
10                                                                  United States Magistrate Judge
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27         1
            The application marks the box for federal inmates to seek habeas relief, Docket No. 1 at1,
   which is not applicable here since Plaintiff appears to be seeking relief with respect to state court
28 proceedings.

                                                       2
